AO 245C (Rev. 02i  Case:  1:15-cr-00260
                   l8) Amended.ludgment         Document
                                        in a Criminal Case #: 293 Filed: 09/21/18 Page 1 of 12(NOTE:
                                                                                               PageID     #:2558
                                                                                                     ldentify Changes                                             with Asterisks (*))
                         Sheet I



                                                Umrpo                   STATPS DISTNICT COURT
                                                                         Northern District of Illinois

                   UNITED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                              v.
                          Roderick Groetzinger                                            Case      Number: 1:15-CR-00260(2)
                                                                                          USM Number: 47948-424
Date of Original         Judgment:            91712018                                     Stephen L. Richards
                                              (Or Date ofLast AmendedJudgment)            Defendant's Attomey

Reason for Amendment:
!    Correction of Sentence on Remand   (I8   U.S.C.   37a2fi(l)   and (2))               !     Modification of Supervision Conditions ( l8 U.S.C. $$ 3563(c) or 3583(e))
I    Reduction of Sentence tbr Changed Circumstances (Fed. R. Crim.                       !     Modification of Imposed Term of Imprisonment for Extraordinary and
     P.   3s(b))                                                                                Compelling Reasons ( l8 U.S.C. $ 3582(c)( I ))

!    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                  !     Modification of Imposed Term of lmprisonment fbr Retroactive Amendment(s)
                                                                                                to the Sentencing Guidelines   (   l8 U.S.C.   $ 3582(c)(2))
M    Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                          E     Dir""t Morion to District Court Pursuant         E   ZS U.S.C. $ 2255 or

                                                                                                !    l8 U.S.C. g 3ss9(cX7)
                                                                                          E     Modification of Restitution Order ( l8 U.S.C. $ 3664)


THE DEFENDANT:
fl   pleaded guilty to     count(s) lll of lhg]rylq@gq!
!    pleaded nolo contendere to count(s)
     which was accepted by the court.
!    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:

                                                                                                                                                          i+F)




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.

!    The defendant has been found not            guil[    on count(s)

d    Count(s) 4,5,6                                                   E is flare dismissed on the motion of the United States.
          It is ordered that the defendant must notifo the United States Aftorney forthis district within 30 days of any change of name. residence,
                     until all fines,
or mailing address until.all          restitution. costs.hnd
                               fines- restitution,.costs, hnd special assessments imbosed by
                                                              soecial assessments.imposed    this jiudem€fifarc{ll+*Daid. If ordEred to pav
                                                                                          bv this                                       pay restrtutlon,
                                                                                                                                            restitution.
the defen"dant must notiry the court and United Siates attorney of material changes iit
                                                                                              9t1
                                                                                          Date      of


                                                                                          Signature      of
                                                                                           Jorge L. Alonso                                         US District Judge
                                                                                          Name and Title       of
AO245C (Rev.    Case:
               02/18)   1:15-cr-00260
                      AmendedJudgment        Document
                                      in aCriminal Case       #: 293 Filed: 09/21/18 Page 2 of 12 PageID #:2559                                             (*))
                       Sheet 2
                                                                                                              (NOTE:     Identi!   Changes with Asterisks
                                 -
                                                                                                         Judgment       Page
                                                                                                                    -
DEFENDANT: RoderickGroetzinger
CASENUMBER: 1 :15-CR-00260(2)

                                                             IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for                             a

total term   of:
Eighteen (18) months as to Count lll of the lndictment.




d      The court makes the following recommendations to the Bureau of Prisons:

"The Court recommends Defendant shall be placed in an institution where the Defendant can participate in the Residential
Drug Abuse program during the appropriate iime of his incarceration. The Court recommends that Defendant shall be placed
in either FCI-I Butner (NC) or FCI-Il Butner (NC).


!      The defendant is remanded to the custody of the United States Marshal.

d      The defendant shall surrender to the United States Marshal for this district:

       d at            02:00                        n a.m. d P'm. on                      121612018

       tr      as   notified by the United States Marshal.

tr     The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

       tr      before2 p.m. on

       tr      as   notified by the United States Marshal.

       tr      as   notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




       Defendant delivered on

                                                          with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL



                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
               Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 3 of 12 PageID #:2560
                Case: 1.15-cr-00260 Document#: 268 Filed: CI9107118 Page 1 of 10 PagelD #.2284                                                      %

                                       LII.{ITED STATES DISTRICT COURT
                                                                  Northem District of lllinois


                UNITED STATES OF AMORICA                                             JUI}GMtrNT IN A CRIMINAL CASE
                                        v.
                                                                                     Case Number:             l: l5-CR-00360{3)
                      RODERICK fi ROE"I'ZINCER
                                                                                     USM Number:              4794fr-424



                                                                                     Stephen L. Richards
                                                                                     Defendant's Attomcy



THE DEFENDANT:
El   pleaded guilty to count{s)       III   of the Indictmentr.
I                           count{s) which was accepted by the court'
     pleaded nolo contendere to
E r.vas tound guilty on couttt(si after a plea of not guitty'
The defendant is adjudicated guilty ofthese ofTenses;
                                                                                                           Offense Ended               Cou{lt
Title & Section 1 rysture sf 0fTense                                                                                                   Itl
I8:l-1.{3.1'r Fraud   8v Wirri. Itrdir:, Or'lelevision                                                     llr3l/2013




The defendanr is sentenced as provided in pages 2 through 8 of this
                                                                    judgment. The sentence is imposed pursuanr to the sentsncing Reform
Act of I 984.

E    'fhe defendant har been found not guilty on count(s)

ffi Coun(s)t{,$$ismissed           on the motion of the United States.

It is ordered thar the det'endant must notiry the united states Attorney ftrr this Disrict within i0 days of any
                                                                                                                   change of nanre, residence. or
mailing address until all fines, restitution, costsl and special assessmenl$ imposed  by  this judgment are fully paid' lf orderetl to pay
                                                                                                                  circumsiancel-
restituion, the de fentlant rnust noti$,the court and united siates Attorney of material changes in eeonomic




                                                                                         Jorge L. A                        District Judge

                                                                                         Irdl'tvrrrru """-"4'l,
                                                                                        Name and Title of Judge
                                                                                                                                  t8
                                                                                         Date
             Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 4 of 12 PageID #:2561
                                         #' 268 Filed: OgtOTll8 Page 2 ot 10 PagelD u''l;t*.-,-paec2or8
lr-ND24.58{Rev o$a,eA*r1r1fi',lffnQQ?CI,Qr,Qppument                                                             :                              i

)nccIz-Illlpll\(rlltrtcfrr
DEITENDANT: R"ODEfi.ICK SROITZINGER
CASE    NUMBEk         I : I 5-CR-00260(2)
                                                            IMPRISONMENT
The defendant is hereby eommitted to the custody of the united
                                                               sutes Bureau of Prisons to be imprisoned Ibr a total term of:
Eighteen {18) months as to count lll of the Indictment'

                 The court makes rhe following recommendations to the Bureau of Prisons:
                                                                                         The Court recommends Defendant shall be
A                                                                               Drug Abuse Program during the appropriatc time
placed in an institution where the defendant can participate in the Residential
of his incarceration.


n       The defendant is remanded to the custody of the Ljnited sratEs Marshal.

n       The defendant shall surrendsr t0 the United Stares Marshal for this districtl

        n
    E        as notified by the Unitad State* Marshal.

                                                                                                      Bureau of Prisons:
    a        The defendant shall sunender for service ofsen{ence at the institution designated by the

        E        before2:00 Pmon l!16118.

        tr       as notified by the United States Marshal.

        E        as   nt'rlified by the Probation or Pretrial Servicec Office'




                                                                    RETURN

I have executed this judgment   as   follows:




                                          to                                                                 , with a certified copY of this
Defendant delivered on
iudgment.



                                                                                      UNITED STATES MARSHAL


                                                                                 By
                                                                                      DEPUTY UNITED STATES MARSHAL
                     Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 5 of 12 PageID #:2562
                                                    268 Filed: 09107118 Page 3 of 10 PagelD #.2286
ILND2458rn*u          r&flfiRi.IldJ,*fi[,QQ,?f,ff*Qpcument#:                                                                                 *   Pagc 3 ol'S
Shect   I*
ffiANT'                      Ronrxlcx^ cRoETzlNcER
CASE NUMBER: 1:15-CR'00260(2)
                                                                  TO T8 U'S'C $ 3583(d)
             MANDATORY CONDITIONS OT]SUPERVISf,D RELEASE PURSUANT

lJpon re lease from imPrisonment,                  shall be on supervired release for a term of;
ebk€m { ts} raohrhs'on Go{ltf H
               you must report to the probatirrn office in the district to which you       are released   within ?2 hours of release ltom the custody of the
Bureau 0f Prisons. ]'he court irnposes those conditions identified
                                                                   by cheekrnarks below:



During the period ofsupervised release;
a tl t ,_ou shall not commit aflother Federal, stale. or local ffirne.
B {l} you shall noi unlarvfully pos$ess a contolled substance'
n (_!) youshall anendapublic,private,or-privatenonprofitofrenderrehabilitationprogramthathasbeenapprovedbythecourt.il
                     program is readily availatrle within a S0-tnile radius of your legal residence. [Use
                                                                                                          for a first conviction of a
               an approvcd
            <lomestic violence crinre, as defined in $ 356ltb)'l
                                                                                                               and Notifrtaliott Act (42 U'S'C' $
        {4} y.u shall register and cornply with all ,iquir***nl of the Sex
                                                                           offender Regisfation
n
               r   69r.3).
A       (5) you tliall cooperate in the collectian of a DNA sample if the collection of such a sarnple is required by law'
                                                                                                              within l5 days of release on
A       (6) you shall rekain t'rom any unlawful use of a controlled $ubstance AND submit to one drug test                           during
               supenised release and aileast two periodic lests therealler, up to 104 periodic tests
                                                                                                       for use.of a controllsd substance
                                                                   eondition  may     ameliorated  or  *uspended  by the c0urt for any defendant
               each year of supervised release" [mis manoatory                     F
                                                  indieates a low risk of fu{ure substancs abuse  by  the def'endant'l
               if reliable sentenring infurmation
                                                                              3563(b) AND
  DISCRETIONARY CONDITIONIi Otr' SUPERYISED RNLEASE PURSUANT TO I8 T,I'S'C !i
                                                                        18 U.S.C $ 3583{d)

Discretionary conditions                  *
                                 The coufi orcJers that you ahide by the following contlitions duringrhe term of supervised
                                                                                                                                release because such
                                                                                {8-X3Xp}. G}. qr,t$:q};   such  conditions  involve   only such
conditions are reasonably related to the factors s€r fofih in $ 3553laXl.)  and
                                                                                                                     (c]'      (l]]: and such
                                                        n"cessiry;ET'ifi* put"rrs.t lrdt-ated in $ 3553 (ax2]  f,B]'      and
deprivationr of libertv or properry as are reasonally
                                                                                            commission pur$uant to 28 u's'c' 9s4a'
conelitions are consistent *ittr any pertinent policy starernentlssued by the sentencirrg
'I'he courl intposes those conditions identified by checkrnarks below:



During lhe period of supervised release:
n tf f you shall piovide finaneial support to any dependents iffinancially(but
                                                                            able'

A (2) you shall make resritution ro a victim olthe ol'fense under $ 3556 not subject to the limitatir:n $ ld(I(3)
                                                                                                       of         or

                     $ 3663A(c)(lXA)).
n        (3)         ,fr *l*il Si"- tCI the viclims of the offbnse notice pursuant to the provisians of $,555. as follorvs:
                                                                                                                         ';;'
                                                                                                                                will equip you
&        (4)         you shall seek lawful employrnent or pursue ceinscientiously a course of study or vocalional training that
                     ibr ernployrnent. If employed. you musl work conscientiou*ly'
                                                                                                                                    direct relationship
E        ts)         you shall reltain frorn *ngagi"g in a specified occupation, bu*iness, cr profession bearing a reasonably
                                                                                                                          u. profession only to a stated
                     to rhe conduct consrirutin; Ifr.?ff"nuJ, or engage in s*ch a specified occupation.. bYsj.:]";tl
                                                                                                                "r i.i' :'
                     degree or undcr staled ciriumstances; (ifchecked yes, please indicate      restriction(s))
                                                                                                                               engaged. or planning to
B        (6)         ycli shall not knowingly mett, sommunicate, or interact with any perton whom you know to be
                     be engaged. in criminal activity ard from:,s,n r,,,
                     tr visiting the follorving typc of places: .-.- - r'
                     n knowingly meeting or communicating with th€ fbllowing persons: lj$liKD
AG\                  y'u shall refrain fionr fft any or E excessive use ofalcohol {defined as il having ablood alcohol concsntration
                                                                                                                                                 greater

                     ttran o.0g); or g1.        $r any use of a narc.otic drug or other controlled subxtance, as detined in $
                                                                                                                                   t02 of the Controlled
                     Subsrances Aet           p!
                                          U,S.C. $ !Q!), rvkhout a prescription by a licenrcd medical practitioner'
a        (8)         you shall refrain6m posseiiing & firearm, destruclive device, or other dangerous weapon'
a        (e)         Et            participate, at the direction of a probaiion offrcer, in a sub*tance abuse ffeatment
                             ,vou shall
                                                                                                                        program, which may

                             include urine testing up to a maximum of 104 test* per year'
                                                                                                                          program. which may include
                     Et      you shall participate, at the direction of a probation officer. in a mental health treatment
                   Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 6 of 12 PageID #:2563
                                               #: 268 Filed: Ogl07l18 Page 4 of 10 PagelD
il.ND24irltn"" :Sf,$Rr,1,;l,fupn-fiSfifiQQgcument                                                                                       t3331                { of8
Sheet 3 ..         ised Releasr

ffirENDANT, Robgatcr cn"oETZINCER
CASE,        NUMBIIR: l: 1 5-CR-00260(?)
                        the use of prescription   medications.                                                                      .            .;,::::i:
                                                                                                   care; {if checked yes. please specify: {'- ,r,'1,1')
                   B    you shall participate, at the dirsction of a probation oflicer. in medical
                                                                                   of the Bureau of Prisons during nights' weekends' or other
n       (   l0)    (interminent confinementL:you.shall remain in the custrdy
                   inrerval$oflime,      totating$)K)?;,ii;;;r*thanthel*o*rofun*yearorthstermofimprisonmentauthorizedfbrthe
                                                                                    (provided, however. that a condition set ftrrth in $
                   ofknse]. during the iirsr yeuiof ite term of .supervised release
                                                                                                    release in accordance with $ 3583(e)(2)
                   3563(bXI0) shall be irnposed only for a violation oia condition-of:upervised
                   and only rvhen facilities are available) for the following period a  .+o '
                                                                                                       community corrections facitity
n (ll)             (communiry continemenl): you shall reside at. or pafii;pate in tt'e piogram of a
                                                                                                for  all or part of the term of supervised
                   (including a facility rnain;ircd or under contract to th.'Bu.*uu of Prisans)
                   release. lor a period af 11,{1,':, months-
                   you shall *or'k in .oor*un', y servioe fori tZ lrours as directed by a
                                                                                                  probation ofl]cer'
tr      tt2)                                                                                                                             "
                   yeiu shall reside in the lollgrving place or area:)f:,,ir;ir,or refrain lionr
                                                                                                 residing in a specified place or area:
il (li)                                                                                                           unless granted pernission to leave
a       (    l4)   you shall not knowingly leave rhe judicial district in which you are being supervissd.
                   by the court or a probation ofTicer.
                                                                                                                     by the court or a probation
EI      {    tsi   you shall repon to a probation ofl'rcer in a manner anil liequency as reasonably directed
                   ofllcer.
a                           you shall permit a probation oflicer to visit you EI at any reasonable time or        B   as specified:
        (    l6) El
                                                                                    ff                             EI *t       community service location
                              I   at home              EI   at work                      at school                         a

                              Et other reasonable location specified by a probation o'{ficer
                   W      you shall permit confiscation of any coniraband observed in plain view of the probatiot otficer'
                                                                                                                          nr workplace and, absent
a       i t7)      y,:u shatt notilr* ; probation officer within 7? lrours of any change in residence, employer,
                                                                                                probation    officer'
                   consrirutional or oilrrr legal privilege. truthtirlly &nsw€r inquiries by a
B (t8)             you rhatl notifii a probation ofliceiwithin T2hnurs if arrestcd by a law enforcsment ofticer'
                   (horne confinement): you shall remain al your place of reridence for a toul of i#,riJf* montls
                                                                                                                             during nonworking hours'
n       (    le)
                   iThis condition rnay be impeised only a* an alternative io
                                                                                  incarceration.]
                   tr Compliance         with this condition  shall be  monitored  by tekphonic orelectronic lignallng devices (the relection of
                                                                                                                                be used in connection
                          which shall be determincd by a probation officer). Hiestronie nronitoring shall ordinarily
                                                                                          of  your  whereabouts.      Voice   identification  may be used
                          with home detention ar it pr6vides continuou$ monitoring
                                                              to monitor  home  confinement    ard  provides    fbr random     monitoring   of your
                          in lieu of electronic monitoring
                                                                                                                         to heslth  or  medical  reasons, it
                          whereabouts. If the otTender is unable to \r,ear an eleutronic monitoring device due
                                                                                                        ordered,  which    will provide   for random
                          is recommended that home confinement with voice idenrification           bE

                          checks on your whereabouts. Home delention with electronic monitnring or voice
                                                                                                                         identification is not deenred
                                                        effectively admini*ered    in ca*es in wh:ich   the offender    ha*  no b$na {ide residence, has a
                          apprapriate anO cannot    be
                                                                                                                      has  pending   criminal charges
                          fristory of violent behavior, serious m€ntal health prohlems, or subslance abuse :
                                                                                                 or  is  required  to  w<lrk  more  than  60 hours per
                          elsewiere; requires frequent travel inside or outside the district;
                            wsek.
                   fi       you shall pay the cost of electronic monitoring or voice idenlification at the daily contrac(ual rate, if you        are

                          financiallY able to do so.
                                                                                                 pf this condition.
                   B      The Court waives the electronicilocation munitoring component
                   you shall comply with the terms of any court orderororderof an         a<lministrative  proc6s$ pursuant to the law of a State,
tr      eU                                                              or territory of the  United  States, requiring payments by you tbr the
                   the District of Columbia. or any other   possession
                                              of a child or of a chikl and the  parent  with whonr   the child is living'
                   support and maintenance
                                                                                                                                         for a
E       t2I    )   (deportation): you shall be sunendered to a duly authoriied otlicial of the Honreland Security Departmeni
                                                                    the appropriate   authority  in accordance   rvith the laws under   the
                   determination on lhe issle ofdeportability    by
                                                                                                                       depofled, ,l'ou shall not
                   Imnrigrarion and Nationality Act and the efi;blished implernsnting regulationx. lf ordered
                                                                                                      ionsent  of the  Attorney General or the
                   reenter the united Stales without obtaining, in advance, the expre$s written
                   Secretary of tlre Departrnent of Homeland Security'
& (22) you shali ratis| such other special condirions as ordered belaw.                                       at any time. with or
                     to register under.the_sex offender Regisrmiion and Notifica{ion Act) you shall submit
n t23) (if requirett**uj,                of your person and any property, house, residence, vehicle, papers, computer, othet
                   without u to a search
                                                                                                                          or probation ofticer
                   elecrronic communication or data storage devices oimeaia, ,nd "ff."tu, by any law enforcement
                                                                                      of rupervised   release  or unlawful   conduct by you' and
                   having reasonolte sospicion con.ernin{a vir:lation of a condition
                                                          iischarge ofrhe officer's supervision t'unctions  (see  special  conditions section)'
                   by any probation officer in the lawful
n       (?4)       Other:
                    Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 7 of 12 PageID #:2564
                                          c u m e n t # 268 Filed. 09107118 Page 5 of 10 PagelD #:2288
rr ND 245   rl,   *.,.9friR;,fi    J,*;r;,QQf,Q$ Qg                                                                                       Judgntenl   *   :5   oltl
Shscl J -           ised Release

ffir      RoDfiRlcK cRoETZINCER
CASE NUMBER: I : I 5-CR-00260(2)
                                                  TO 18 U.S.C.3563(bX22) ANd 3583(d)
SPECIAL CoNDITIoNs or SUPERvISED RrLEASE TURSUANT
I he court imposes those conditions identified by checkmarks belorvl


During the term ofsupervit*d relsase:                                                                 participate in a ceneral Educational
n      t   l)       if ynu have not eibtained a high school diploma or equivalent,you rhall
                    Development (oED) preparation pourse and seek to obtain a
                                                                                  fiED within the first year of supervision'
                                                   uppruuea job *kill-tnaining program at the direction of a
                                                                                                             probation offieer within the first 60
n      12\          you shall punilip*ri   il'"i
                    daYs  ofPlacenent on $upervlslon'
                                                                                                            for 60 days alter termination ,r lay-off
    n (i)           you shall. irunernptoyeti afterthe trrst 60 days of supervision, or if unemptoyed
                                                             nnui, of  .omrnunity   service  per week-at  the              of the l'J'S' Probation oiTice
                    frorn empl,yrnenr, perfomr at leasr zo                                                r'  -fl',1:::','
                    until gainfuily ernpicyed. The amount of community service rhall not
                                                                                                exceed '1        hours'
                                                                                                            personal inlbrmation, including, but not
    n @l            you shall not maintain ernployrnent where you have access ro other individual's
                                                                           numbers   (or money)   unless  approved    by a probation
                    limited to, social security numbers and credit card                                                                  -"mt1l'
                                                             o, op"n  additional lines ofcredit   without  the  approval    ofa probation officcr unless
    A {5)           you rhall not incur new credit *hurg*u
                                                                                               judgment'
                    you are in compliance with the financial obligations imposed by this
                    you shal} provide a probation offrcer with access to any requtsted      linancial information necessary to monltor con rpliance
    A {6}
                    u'ith conditions of supervised release'
                                                                                                                    thet might aftbct your ability to pay
    A (?)           you shall notifu the court of any material change in your economic circumstances
                    restitution, tines, or special a$$essments'
    & (s)           yuu shalt pn:vide documentation to the tRS and pay taxes as required by law.
                                                                                      -l'he
                                                                                            ryecific p.rl$ram and.provider will b{} determined
                                                                                                                                                        by a
    n $,            you shall participate in a sex offender treafmefit pragram.
                                                                                                    *t i.ti *"y    include    psychological   and physiological
                    probation offieer. you shall camply with all recornfiended freetment
                    iesting. You shall maintain use of all prescribed medicatisns'
                    g you shall comply with rhe requirements of the Computer and Intemet Moniioring Program as atlministered by the
                            Llnited States probation Olfice.
                                                                 you shall consent 1o the installatitm of computer rnonitoring software on all
                                                                   have aocess. The *oftuare may resfrici and/or record any and all activity
                                                                                                                                                          on the
                            ia.ntin*a computers to which       you
                                                                                                                           use history,  email
                            compuler, including the capt; af keystrokes, applieation information, Internet
                            correspondence, an*d chat conversations. A notiie will bc placed on the
                                                                                                                computer at the time of installation to
                                                                                                                                   with. revetrle elgineer" or
                            lvarn {rthers eif the exisience of the monitoring ssttware. You shall not remove, tamper
                            in anY waY circumvent the software'
                    EI The cost of the monitoring *hall be paid by you ar the monthlyjudgment,       contractual rate, if you art financially able, subject
                            ro sarisfaerion of other iinancial obligations    imposed    by this

                    n       you shall not posses$ or u.ss any device with accfss to any online computer rervice at any location (including
                            place of employmeng without the prior approvalof a probarion offlcer. This includes
                                                                                                                                  any lnternet service
                                                                        other  public  or privale   network   or  ernail  5y$tem.
                            irooia.r, lulteiln board systern" or   any
                    EI      you shall not possess any device that could be used tbr covert photography without the prior approval ofa
                            probation officer.
                    n       you shall not view or pos$e$$ child pomography. lf the lreatm€nt provider determines that exposure to other
                                                                                                                                         conditions are likely
                            sexually stimulating material rxay be aetrirnentat to the troatment process. or that additional
                                                                     proposed   condition$   shal I be promptly     presented    to the coufi' for a
                            to assist the treatmeot process, such
                                              pursuant  t0 lS |J.S.C:   iStg(eXZ),    regarding    whether   to  enlarge   or  otherwise   mgdify the
                            rletermination"                           $
                                                                                                                                        treatment provider'
                            ionditlon, of *upervirion ro include conditions consistent wlth the recommendationx of the
                                                                                                                             engage in activities that rvill pul
                     tr you shall not, withnut the approval of a probation olficer and treatment provider,                             where ehildren
                            you in unsupervised private'contaet with any person under the age of I8. or              visit  locations
                                                                                                        Registration     and   Notitication  Act')
                            regularly congregate (e.g., locations specified in the Sex Offe-nder
                    a       This eondition does not apply to your family members: ffi         ;Namesl
                    n       your employment rhall be restricred rs the district and division rvhere you reside or are supervised, unless
                                                                                                                               shall seek ths approval
                            approval is granted by a probation officer. Prior to accepting any forrn of.employment.v'..-ou
                                                                                                              to        fte  level  tlf risk to the
                            o?a proUatiin ofllcei in onler to allow the probation officer the opportunity        asses$
                                                                         particular capacity.  You sha.ll not  panicipate  in  any  volunteer activity
                            community you rvill pose if **ployed in a
                                            you to come   inro direct.oniu"t  with chiidren excepl under   circumstances    approved      in advance by
                            that rBay cause
                            a probation officer and trcatment provider.
                    n       you shall provide the probarion officer with copies of your telephone bills, all credit card stat€mentsireceipts" and
                            any other tinancial informaticn requested.
               Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 8 of 12 PageID #:2565


ffintcrcnoerzlNCER
          :15-CR-00260(?)
CIASE       NUMBER:    I
                                                   state and local laws penaining to convicted sex offenders,
                                                                                                                in*luding such laws that
               n      you shall eomply rvith all
                     impose restrictions beyond those    sed   fbrth in this   order'    ..
                                                                                      . .r    ---,*- ,.--*:r
                                                                       byrhis judgmeil that remains unpaid at ths commencement of
                                                                                                                                  the
A (t0)         you shalt pay any financial penalty   th;;;;&;
               termofsupervisedrelease.Yourmonihlypaymentscheduleshallbeanamountthaiisatleassffi,W.or.\ffiofyour
                                                                                          food" shelter. utilities"
                                                                                        for basic necessities such as
               net monthly income, defined as income neioirearonuble expenses
               insurance, and employment-related expenses'
                                                                                                   of a law enforcernent agency withour the
a   (I l)      you shall not entei into any ugr*.*"oito act a$ an infbrmer or special agent
               permi*sion of the coufi'
                                                                                     $         whictr you received during the commission of
n   t l?)      y.u *hall repay ttre united-$tates "buy money'' in the amount of
               mi, orensei[iie Clerk of the Court shall ,.*it th* funds         to       (include  dgsncy and Address]')
                                                                                       person              an organization or members of the
    ( 3)       if the probation officer detennlne, ttrui'yn,  pose a risk to flnother          {including
E       I
                                                                                  person about the risk, and you must comply with that
               community), the probalion om""r rn*yirqrrl* y-ou to.tell the
                                                                                            ysur record of anests and convictions and
               insrrucrion, Such notification could in"*fu*li advising the penon about
                                                                        person   and  confirm   that you have told the person about the risk'
               substance u*e. The probatian ofiicer may csntact the
tl (14)        Other:'\+'
                  Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 9 of 12 PageID #:2566
                                              #: 268 Filed. Ogl07t18 Page 7 of 10 PagelD #:2294
n.ND 2458 (Bev     rktR;  rXoJ,fu m-&Q*fiff&,Pcument                                                                                       Judgmcnt   *   Page ?   ol   &
      * Crimiual Monetary Pmalties
Sheet 5

DETE]'INANT.NONTruCX CROSTZINCOR'
CASE NUMBER; I : l5-CR-00260(2)
                                               CRIMTNAL MONETAKY PANALTIES
                                                    penalties under the schedule of paynents on Sheet 6'
The defendant must pay th€ total crirninal monetery

                                                                   JYTA A$ess!CIcIc                               Fine                            &estitulion
                                                Assessment
                                                   s lt u,u0                       $.00                            $.00
TOTALS

                                                                                                                     $o             will   be entered      after su$h
B         The determination of reslitution is deferred   until       . An Axmded Judgment in a criminal case               2''5t)

          determination.
                                                                               to the following payees in the amount listed below'
a         The defendant must make restitution (including community r$titution)
                                                                                                        proportiotedgayment, unless-specified
          lf the defendant   nrakes a partial payment, each payee shall receive an approximately
                                                                              *oweret, p,rituant to            l8 u's"c' $ 3664(i)' all nonlederal
          otherwise in the priority order or percenrage payment column below.
          victims must be paid befbre the United States is paid'


     Restitution of    $   1.935,989.00 1o:

             MIT,LERCOORS LLC
             CHICAOO. IL 60606

     n             Restitution amouflt ordered pursuant to plea agreement $

                   'rhe defend'nt musr pay interest or restitution and a fine of more than $2,500, unless the ro$titution or fine is paid in full
     n                                                                                               3612t0. All of the payment r:ptions on sheet
                   before the fid;ih day alier the date of the judgnent, pursuailt to l8 u.s.c. $
                   6 may be subject to penalties for delinqtrency and de{bult, pufsuaflt lo l8 u.s.c.  $ 361?(g)'
      8l           The court tletermined that the defendant does not have the ability to
                                                                                          pay interest and it is ordered that:

                   a                the interest requirenrent is waived lbr the restitution amount"

                   E                the interest requirement for   the      is modified as   follows:
                                                                                                           any outstanding restitution or fine
     n             The defendant.s non-exempt assets, ifany, are subject to immediate exeeution to satisfy
                   obligationr.

     * Justice for Victims of Tratfrcking Act of 2015, Pub. L. No' I 14-22'
     * Findings for the totat amount ofiosses are required under chapters I09An I I0, t l0A, and I t3.d of                ritle l8     for offenses commifted
     on or after September I3, I994, but before April 23, 1996'
                    Case: 1:15-cr-00260 Document #: 293 Filed: 09/21/18 Page 10 of 12 PageID #:2567
                                                 #' 268 Filed ' 09107 118 Page 8 of 1 0 PagelD #'2291
      rn," 093,$&t,1r16;"frQQ?fi0,,Qgpument
,.ND 24s*                                                                                                                                 Jurlgnrcnt   *   Page S of   Il,-
shert {i   * Paynsnts ,,, , _
               schcd$le of          _ ** *                            ,,,,,,     .
                                           ,


DETENDANT: RODERICK CROETZINGER
CASE NTJMBER: I : I 5-CR-00260(2)
                                                        SCHEDULE OT PAYMENTS
                                                                              monetnry penalties is due as follows;
Having as*e**ed the defendant's ability to pay, paym8nt of the fotal criminal

A          A         Lump rum payment of $1.936.089.00 due immediately'

                     E        balance due not later   than     , or

                     A        balance due in acsordance with   fl   c, E D, fJ       E, or   xl r   below; or



BEI                  payment to begin immediately (may be combined with El C:.               n D, or E F below); or

CN                        equal {e.g. '*vekll,, month$t, <yurlerly installments of $
                     Payment in
                                                                                                                   over a period   of   {e"g'' monrhs or years;' to

                     commence {e.g., j0 ar 6il dal'sJ after the date of thi! iudgment; or
           u              equal \e.g. weekly, monrhly, quarterly) installments of $
                     payment in                                                               over a period of                          te.g . mrstrhs ori'enrs7'        to
                     commence tn.g". si ii aayr;
                                          go     atier release from imprisonment to a term of supervision; or


           E         payment during the term of supervised release will csmme,nce             within
                                                                                               le.g., 30 or 60 dayt) afterrelease from itnprisonment'
                                                                                                             pay at that tinre; or
                     The court will set the paymeniplan based on &) assessment ofthe defendant"s ability to

           e         Special instructions regarding ihe payment of criminal monetary penalties:
                                                                                                                    the commencement of the term
                     Tile defendant shall pay the ristituiion imposed by this judgrnent, and that remains unpaid at
                     of supervi*ed release, at a rate of at least l0 percent of the defendant's monthly income'


Unlesc the oourt ha$ expressly ordered otherwisen if this judgmenl imposss imprisonment,
                                                                                                                plyfef
                                                                                                   of criminal monetary penalties is due
                               ill                        e*.ipt thou*          made through the Federal Bureau of Prisons' lnmate Financial
aori,rg i*priror*"nt.      criminal monetary penalties,                iaymenti
Responsibility Program" are made 1o the clerk of the court.

                                                                                                     penalties imposed'
l'he defendant shall receive credit for all payrnents previously made toward any criminal rilonetary

A          Joint and Several

Case Numtrer                                          Total Amount                     .Ioint and $everal                Corrmponding PtYee,   if
Defendant and Co-Defendant Names                                                       Arnount                           Appropriate
{iucluding defendant number)

1-5   CR 260       *l   - David Colletti                                               $enrencing not hsld yet; no joint and several amounl determined'



**see above for Defendant and Co-Defendant Names and Case Numbers {inctutlinl4 defendant number), Total Amount, Joint and several
                                                   **
A mount, and corresponding payee, i f appropriate-


E          The defendant shall pay the cost ofprorecutiun.


A          The defendant shall pay the following court cost(s):

                                                                                                         States: See lbrfeiture order'
A          The defsndant shall fcrrtbit the defendant'* interest in the fbllowing property to the United

payments shall be applied in the tbllowing order: ( l) assersment, (2) restitution principal, (3) reslitution interesl,
                                                                                                                        (4) fine principal,
                                                                 (8) costs. including cost of prosecution  and cpurt cost
(Si firc interest" (6) community restitution, (7) penalties, and
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                               UNITED STATES DISTS.ICT COURT
                               NORTHERN DISTRICT OF ILLTNOIS
                                     EASTERN DIVISION

  IINITED STATES OF AMERICA

                 v.                                        No.   15 CR 260-?


                                                           Judge Jorge L. Alonso
  RODHRICK CROETZINGER

                           PREUMINABY qBDpn                gr r0nrEITURtr
                                                                                       pursuant to
          The United States asks this Court to issue a preliminary urder of forfeiture

  Title 18, {.Inired states code, section gs}{axlxc), Title 28, United states c'ode, section
  246t{c\,and Fed. R. Crim" P.3?.2.

          (a)    On May S, 2015, an indictmest was returned charging defendeilt RODHRICK
                                                                                   1343' The
  GROETZINCER with wire fraud violations pursuant to the provisions of t8 U.S-C. $
                                                                                         prnvisions of
  indictment saught forfeitwe to the {.lnited siates of eertain property pursuant to the

  l8 U.S"c. $ 9sl{aXlXC) and 28 U'S-C.      $   2adl(c)'

          (b)    On April 4,2$17, pursuant ta Fed R. Crim. P.                ll,   defendant RODERICK

  CROSTZINGER entered a vcluntary plea of guilty to Count Three of the indictment-

          (c)    Pursuant    t0 the terms of his plea agreement,                   deftndant RODERICK

  GROETZINGER agreed that all right, title and irterest that he may have in any property derived

  tiom proceeds gh,tained, directly or indirectly, as a result of the offense of conviction is subjsct to

  furfeiture.

                 1he Unired States rsquests that this Cou* erter           preliminary order of forfbiture
          {d)                                                          &


  against defendant RODERICK CROETZINGER as                   ts firnds in the amount of      $2,03?,989,

  because the property constitutes and    is derived *om the proceeds traceable to the offense of

  conviction.
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 Case: 1:15-cr-00260 Document #: 268 Filed: 09lOTl18 Page 10 of 10 PagelD #:2293




           (e)   Pursuant      to l8 u.s.c. $ gst{axlxc), 28 U.S.C. $ 2461(c} and Fed' R' Crim'         P'


  32.2, the United states requests that the terms and conditions of
                                                                    this preliminary otder of

                                                                                GROETZIN$ER
  tbrfeirure be rnade part eif the ssrrteRce impo*ed against defsndant RODERICK

                                                                     case agaimst him.
  and included in any iudgment and cammitrnent order enterod in thi*

           Acc rdingly, it is hereby C)RDEREn, ADJUDGED aud DECREED:

                 That, a judgment is entered against dcfendant RODERICK OROETZINOER
                                                                                    in
           l.
  the arnount al$2.022,989. It is further ordered.

           2.    Thar, pursuant to the provisions of 18       u.s.c.   $   9s1(axlxc), 28 U.S.C. $ 2a61(c)

  and Fed. R. Crim. p. 32.2, all right, title, and interest deftndant RODERICK
                                                                               GROETZINGER

  may have in the $2,022,gS9 judgrneut is hereby f-orfeit to the United States              of America or

  dispositiou according to law. lt is further ordered,

           3.    That, this court shall retain jurisdiction in this maser to take additional action and

  enter furiher orders   &6   ilecs$sery to irnplement and enfurce this forfeiture order'




  ENTERED:



  q/6/18
                                                            JORGE L. ATONSO
                                                             United $ktes District Judge
